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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      Case No. 23-mj-00075-RMM
                                             :
FREDERIC FIOL,                               :
                                             :
                      Defendant.             :


       MOTION FOR AN ORDER TO DISCLOSE ITEMS PROTECTED BY
   FEDERAL RULE OF CRIMINAL PROCEDURE 6(e) AND SEALED MATERIALS

       The United States of America hereby moves for entry by this Court of an order permitting

the disclosure in discovery of materials protected by Federal Rule of Criminal Procedure 6(e). The

United States also requests permission to provide in discovery sealed materials, pursuant to the

previously entered protective order governing discovery. Finally, the United States requests that

any order granting this motion be made applicable to co-defendants who may later be joined.

       WHEREFORE, the United States respectfully requests an order authorizing the disclosure

in discovery of the materials described above.

                                             Respectfully submitted,

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                                             UNITED STATES ATTORNEY
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